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                                                                             United States District Court
                                                                               Southern District of Texas

                        UNITED STATES DISTRICT COURT                              ENTERED
                         SOUTHERN DISTRICT OF TEXAS                           November 17, 2021
                             VICTORIA DIVISION                                 Nathan Ochsner, Clerk


ANNA HARRIS,                                §
                                            §
        Plaintiff,                          §
                                            §
VS.                                         §              Civil Case No. 6:21-CV-00039
                                            §
JUSTIN MARR, CONSTANCE FILLEY               §
JOHNSON and JOHH DOE,                       §
                                            §
        Defendants.                         §

                                        ORDER

       The parties have notified the Court that all matters in dispute and controversy

between them have been fully and finally compromised and settled. They have further

announced their intention to request dismissal of this action.

       Therefore, the parties are ORDERED to file appropriate dismissal documents

disposing of this action with this Court within sixty (60) days of the date of this Order.

Should the parties fail to timely file such documents with this Court, they are ORDERED

to appear before this Court to explain why they have failed to comply with this Order.

       It is further ORDERED that all current settings are canceled, and all pending

motions are denied without prejudice as moot by the settlement announced in this cause.

       It is SO ORDERED.

       Signed on November 17, 2021.


                                                ___________________________________
                                                          DREW B. TIPTON
                                                UNITED STATES DISTRICT JUDGE
